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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814

5    Attorney for Defendant
     MARCOS SOTO GONZALEZ
6
7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                        )   NO. 2:13-CR-00341 JAM
                                                      )
12                         Plaintiff,                 )   STIPULATION AND ORDER
                                                      )   TO CONTINUE STATUS CONFERENCE
13          v.                                        )
                                                      )
14   MARCOS SOTO GONZALEZ                             )   DATE:         January 21, 2014
                                                      )   TIME:         9:45 am
15                         Defendants.                )   JUDGE:        Hon. John A. Mendez
                                                      )
16                                                    )

17          IT IS HEREBY STIPULATED and agreed to between the United States of America

18   through MICHAEL McCOY, Assistant U.S. Attorney; defendant MARCOS SOTO GONZALEZ

19   by and through his counsel, BENJAMIN GALLOWAY, Assistant Federal Defender, that the

20   status conference set for November 19, 2013 be continued to January 21, 2014 at 9:45 a.m.

21          The reason for this continuance is to allow defense counsel additional time to review

22   discovery with the defendant, investigate the facts of the case, and to negotiate a resolution to

23   this matter. The parties find that the ends of justice to be served by granting a continuance

24   outweigh the best interests of the public and the defendant in a speedy trial.

25          Based upon the foregoing, the parties agree that the time under the Speedy Trial Act

26   should be excluded from the date of signing of this order through and including January 21, 2014

27   pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code

28   T4 based upon continuity of counsel and defense preparation.
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1    DATED:          November 14, 2013                    Respectfully submitted,
2                                                         HEATHER E. WILLIAMS
                                                          Federal Defender
3
                                                          /s/ Benjamin Galloway
4                                                         BENJAMIN GALLOWAY
                                                          Assistant Federal Defender
5                                                         Attorney for Defendant
                                                          MARCOS SOTO GONZALEZ
6
7    DATED:          November 14, 2013                    BENJAMIN B. WAGNER
                                                          United States Attorney
8
                                                          /s/ Michael McCoy
9                                                         MICHAEL McCOY
                                                          Assistant U.S. Attorney
10                                                        Attorney for Plaintiff
11
12                                             ORDER
13           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
14   November 19, 2013, status conference hearing be continued to January 21, 2014, at 9:45 a.m.
15   Based on the representation of defense counsel and good cause appearing there from, the Court
16   hereby finds that the failure to grant a continuance in this case would deny defense counsel
17   reasonable time necessary for effective preparation, taking into account the exercise of due
18   diligence. The Court finds that the ends of justice to be served by granting a continuance
19   outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
20   time up to and including the January 21, 2014 status conference shall be excluded from
21   computation of time within which the trial of this matter must be commenced under the Speedy
22   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
23   defense counsel reasonable time to prepare.
24
25   DATED: November 14, 2013
                                                          /s/ John A. Mendez______________
26                                                        HON. JOHN A. MENDEZ
                                                          United States District Court Judge
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      United States v.End of Formulaited
                       Gonzalez                     -2-
      Stipulation and Order
